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UNITED STATES DISTRICT COURT                                               ·t   DOC #:                   J~
SOUTHERN DISTRICT OF NEW YORK
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                                                                           \\DATE FlLED: _ {          {§j_2-~~~I.
UNITED STATES OF AMERICA,

                 -v-                                                      20 CR 96-01 (CM)

JASON RIVERA,                                                                    ORDER

                                   Defendant.

----------------------------------------------------------------------X
Colleen McMahon, Chief Judge:

        The Court will conduct a change of plea proceeding via video/teleconference using the

CourtCall platform on November 9, 2020, at 11 :00 a.m. As requested, defense counsel will be

given an opportunity to speak with the Defendant by telephone for fifteen minutes before the

sentencing proceeding begins (i.e., at 10:45 a.m. ); defense counsel should make sure to answer

the telephone number that was previously provided to Chambers at that time.

         To optimize the quality of the video feed, only the Court, the Defendant, defense counsel,

and counsel for the Government will appear by video for the proceeding; all others will

participate by telephone. Due to the limited capacity of the CourtCall system, only one counsel

per party may participate. Co-counsel, members of the press, and the public may access the

audio feed of the conference by calling 855-268-7844 and using access code 32091812# and PIN

9921299#.

         In advance of the conference, Chambers will email the parties with further information on

how to access the conference. Those participating by video will be provided a link to be pasted

into their browser. The link is non-transferrable and can be used by only one person;
           Case 1:20-cr-00096-CM Document 24 Filed 11/06/20 Page 2 of 3



further, it should be used only at the time of the conference because using it earlier could result

in disruptions to other proceedings.

       To optimize use of the CourtCall technology, all those participating by video should:

           1. Use the most recent version of Firefox, Chrome, or Safari as the w'eb browser. Do
              not use Internet Explorer.

           2. Use hard-wired internet or WiFi . If using WiFi, the device should be positioned
              as close to the Wi-Fi router as possible to ensure a strong signal. (Weak signals
              may cause delays or dropped feeds.)

           3. Minimize the number of others using the same WiFi router during the conference.

Further, all participants must identify themselves every time they speak, spell any proper names

for the court reporter, and take care not to interrupt or speak over one another. Finally, all of

those accessing the conference -    whether in listen-only mode or otherwise -    ~re reminded that

recording or rebroadcasting of the proceeding is prohibited by law.

       To the extent that there are any documents relevant to the proceeding (e.g., proposed

orders or documents regarding restitution, forfeiture , or removal), counsel should submit them to

the Court (by email or on ECF, as appropriate) at least at least 24 hours prior to the

proceeding. To the extent any documents require the Defendant's signature, defense counsel

should endeavor to get them signed in advance of the proceeding as set forth a~ove; if defense

counsel is unable to do so, the Court will conduct an inquiry during the proceeding to determine

whether it is appropriate for the Court to add the Defendant's signature.

                                                      SO ORDERED.


Dated: November 6, 2020
                                                            k_1-w._
       New York, New York                                   Colleen McMahon
                                                              Chief Judge




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               Case 1:20-cr-00096-CM Document 24 Filed 11/06/20 Page 3 of 3



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA

                                                                               WAIVER OF RIGHJTO BE
                             -v-
                                                                               PRESENT AT CRIMINAL
                                                                               PROCEEDING
JASON RIVERA,
                                       Defendant.
                                                                                20 CR 96-01 (C~}
-----------------------------------------------------------------X

Check Proceeding that Applies


         Entry of Plea of Guilty

         I am aware that I have been charged with violations of federal law. I have consulted with
         my attorney about those charges. I have decided that I wish to enter a plea of guilty to
         certain charges. I understand I have a right to appear before a judge in a courtroom in
         the Southern District of New York to enter my plea of guilty and to have my attorney
         beside me as I do. I am also aware that the public health emergency created by the
         COVID-19 pandemic has interfered with travel and restricted access to the federal
         courthouse. I have discussed these issues with my attorney. By signing this document, I
         wish to advise the court that I willingly give up my right to appear in person before the
         judge to enter a plea of guilty. By signing this document, I also wish to advise the court
         that I willingly give up any right I might have to have my attorney next to me as I enter my
         plea so long as the following conditions are met. I want my attorney to be able to
         participate in the proceeding and to be able to speak on my behalf during the proceeding.
         I also want the ability to speak privately with my attorney at any time during the
         proceeding if I wish to do so.



Date:
                   Print Name                                           Signature of Defendant




Date:
                     Signature of Defense Counsel




Date:                                 Accepted:
                                                          Signature of Judge


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